       Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 1 of 9 PageID 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

                                         CASE NO:

MARVENE TERRELL,

                Plaintiff,

v.

LITTLE WISE KIDS PRESCHOOL, LLC, a Florida
limited liability company, KATRINA L. WISE, and
KELVIN WISE,

            Defendants.
____________________________________________/

            COMPLAINT FOR DAMAGES AND JURY TRIAL DEMANDED

       Plaintiff, MARVENE TERRELL, (“TERRELL”), by and through her undersigned

attorney, files this, her Complaint for Damages against Defendants, LITTLE WISE KIDS

PRESCHOOL, LLC, a Florida limited liability company (hereinafter, ”LWKP”), KATRINA L.

WISE, (hereinafter “K. L. WISE”), and KELVIN WISE, (hereinafter “K. WISE”), and states as

follows:

                                     INTRODUCTION

      1.    This is an action to recover unpaid overtime and minimum wage compensation under

the Fair Labor Standards Act, as amended, 29 U.S.C. § 201 et. seq, (hereinafter “FLSA”); and,

minimum wages under the Florida Minimum Wage Amendment, Article X, §24 of the Florida

Constitution.
        Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 2 of 9 PageID 2



                                       JURISDICTION

       2.   This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b) and

28 U.S.C. §1331. At all times pertinent to this Complaint, the corporate Defendant, LWKP was

an “enterprise engaged in commerce.” At all times pertinent to this Complaint, the corporate

Defendant regularly owned and operated a business engaged in commerce or in the production of

goods for commerce as defined in §3(r) and 3(s) of the FLSA, 29 U.S.C. §203(r) and 203(s).

       3.   Defendant, LWKP, K.L. WISE AND K. WISE operated a preschool. By virtue of

such, LWKP is a covered enterprise under 29 U.S.C. §203(s)(1)(B).

       4.   Plaintiff engaged in work that involved handling on a regular and recurrent basis

“goods” or “materials,” as defined by the FLSA, which were used commercially in Defendants’

businesses, and moved in interstate commerce. This included a school supplies, file cabinets,

electronic equipment     and a variety of other materials used in this business which was

manufactured outside of the State of Florida.

       5.   Upon information and belief, during the relevant time period, the Defendants had an

annual gross volume of sales made or business done of not less than $500,000.00.

       6.   The Defendants are subject to the jurisdiction of this Court because they engage in

substantial and not isolated activity within the Middle District of Florida.

       7.   The Defendants are also subject to the jurisdiction of this Court because they operate,

conduct, engage in, and/or carry on business in the Middle District of Florida.

                                              VENUE

       8.   The venue of this Court over this controversy is based upon the following:




                                                  2
        Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 3 of 9 PageID 3



               a.      The unlawful employment practices alleged below occurred and/or were

                       committed in the Middle District of Florida

                       and,

               b.      Defendants were and continue to be a corporation and individuals doing

                       business within this judicial district.

                                             PARTIES

       9.   At all times material hereto, Plaintiff, TERRELL was “employee” of the Defendants

within the meaning of the FLSA.

       10. At all times material hereto, corporate Defendant, LWKP was conducting its business

in Jacksonville, Duval County, Florida, with its principal places of business in that city.

       11. At all times material hereto, Defendants, LWKP, K.L. WISE and K. WISE were the

employers of Plaintiff, TERRELL.

       12. At all times material hereto, Defendants, LWKP, K.L. WISE and K. WISE were and

continue to be “employer[s]” within the meaning of the FLSA.

       13. At all times material hereto, Defendants, LWKP, K.L. WISE and K. WISE

knowingly, maliciously and willfully failed to pay Plaintiff, TERRELL her lawfully earned

wages in conformance with the FLSA.

       14. Defendants, LWKP, K.L. WISE and K. WISE committed a willful, malicious and

unlawful violation of the FLSA and, therefore, are liable for monetary damages.

       15. At all times material hereto, corporate Defendant, LWKP was and continues to be an

“enterprise[engaged in commerce” within the meaning of the FLSA.




                                                  3
        Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 4 of 9 PageID 4



      16. At all times material hereto, the work performed by Plaintiff, TERRELL was directly

essential to the businesses performed by Defendants.

      17. Plaintiff, TERRELL has fulfilled all conditions precedent to the institution of this

action and/or such conditions have been waived.

                                   STATEMENT OF FACTS

      18. In or about the end of January 2018, Plaintiff, TERRELL began working for the

Defendants as a teacher and later a director at the Defendants’ preschool. Her employment

ended on about May 31, 2019.

      19. Although Plaintiff’s hourly wage was supposed to be $11.00 per hour, Defendants

paid Plaintiff, TERRELL, below the minimum wage for some of her hours.

      20. The Defendants failed to pay TERRELL any wages at all for her final week of

employment.

      21. In addition, Plaintiff, TERRELL was not paid overtime wages for her work hours in

excess of 40 in each workweek. The Plaintiff, was paid “straight time” for some hours in excess

of forty, and was paid nothing for other hours in excess of forty.

      22. Defendants knowingly, maliciously and willfully operated their business with a

policy of not paying wages in conformance with the applicable law, to the Plaintiff.

      23. Defendants, K.L. WISE and K. WISE were supervisor and manager/ owners of

LWKP who were involved in the day-to-day operations and/or were directly responsible for the

supervision of Plaintiff. Therefore, they are personally liable for the FLSA violations.

      24. Defendants, K.L. WISE and K. WISE was directly involved in decisions affecting

employee compensation and/or hours worked by Plaintiff, TERRELL.




                                                 4
          Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 5 of 9 PageID 5



         25. Plaintiff has retained Bober & Bober, P.A. to represent her in this litigation and has

agreed to pay the firm a reasonable fee for its services.

                                    STATEMENT OF CLAIM:

                                             COUNT I

                   VIOLATION OF 29 U.S.C. § 207 (UNPAID OVERTIME)

         26. Plaintiff, TERRELL repeats and realleges Paragraphs 1 through 25 as if fully set

forth herein.

         27. Plaintiff, TERRELL’s employment with the Defendants was to consist of a normal

work week for which she should have received time and one-half for her hours worked in excess

of the maximum hours provided for in the FLSA.

         28. The Defendants failed to pay Plaintiff, TERRELL for overtime hours she actually

worked by, among other things, making deductions for meal breaks which she did not have time

to actually take. For other hours worked in excess of 40 per workweek, the Defendants paid the

Plaintiff “straight time” instead of overtime at the rate of time-and-one-half.

         29. During Plaintiff’s employment, Plaintiff worked hours in excess of forty (40) per

week for which she was not compensated at the statutory rate of time and one-half for all of her

hours.

         30. Plaintiff, TERRELL was entitled to be paid at the rate of time and one-half for all her

hours worked in excess of the maximum hours provided for in the FLSA.

         31. Records, if any, concerning the number of hours worked by Plaintiff and the actual

compensation paid to Plaintiff are in the possession and custody of the Defendants. Plaintiff,

TERRELL, intends to obtain these records by appropriate discovery proceedings to be taken




                                                  5
       Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 6 of 9 PageID 6



promptly in this case and, if necessary, she will then seek leave of Court to amend her Complaint

for Damages to set forth the precise amount due her.

      32. Defendants knew of and/or showed a willful and malicious disregard for the

provisions of the FLSA as evidenced by their failure to compensate Plaintiff, TERRELL at the

statutory rate of time and one-half for all the hours she worked in excess of forty (40) hours per

week when they knew or should have known such was due.

      33. Defendants failed to properly disclose or apprise Plaintiff, TERRELL, of her rights

under the FLSA.

      34. As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiff, TERRELL is entitled to liquidated damages pursuant to the FLSA.

      35. Plaintiff is entitled to an award of her reasonable attorney’s fees and costs pursuant

to 29 U.S.C. § 216(b).

       WHEREFORE, Plaintiff, TERRELL respectfully requests that judgment be entered in her

favor against the Defendants:

       a.      Declaring that the Defendants violated the overtime provisions of 29

               U.S.C. § 207;

       b.      Awarding Plaintiff overtime compensation in the amount calculated;

       c.      Awarding Plaintiff liquidated damages in the amount calculated;

       d.      Awarding Plaintiff reasonable attorney’s fees and costs and expenses of

               this litigation pursuant to 29 U.S.C. § 216(b);

       e.      Awarding Plaintiff post-judgment interest; and




                                                 6
          Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 7 of 9 PageID 7



          f.    Ordering any other and further relief this Court deems to be just and

                proper.



                                              COUNT II

                   VIOLATION OF 29 U.S.C. § 206 (UNPAID MINIMUM WAGES)

      36. Plaintiff realleges Paragraphs 1 through 25 of this Complaint as if fully set forth

herein.

      37. Plaintiff’s employment with Defendants was to consist of a normal workweek for

which she was to be compensated at or above the FLSA minimum wage.

      38. 29 U.S.C. § 206 and requires that any employee covered by the FLSA be paid their

minimum wages.

      39. Plaintiff worked hours for the Defendants for which she was paid below the statutory

minimum wage.

      40. Plaintiff, TERRELL worked hours for LWKP for which she was paid no wages at all.

      41. The Defendants’ failure to pay Plaintiff the proper minimum wage was willful.

      42. As a direct and proximate result of Defendants’ violation of the FLSA, Plaintiff is

entitled to liquidated damages pursuant to the FLSA.

          WHEREFORE, Plaintiff respectfully requests:

          a.    judgment in her favor for all unpaid minimum wages due or payable;

          b.    liquidated damages;

          c.    attorney’s fees and costs pursuant to the FLSA;

          d.    post-judgment interest; and




                                                 7
       Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 8 of 9 PageID 8



       e.      all other and further relief this Court deems to be just and proper.



                                           COUNT III

             VIOLATION OF ARTICLE X, § 24, FLORIDA CONSTITUTION

      43. Plaintiff, TERRELL realleges Paragraphs 1 through 25 as if fully stated herein.

      44. Pursuant to Article X, Section 24 of the Florida Constitution, Defendants were

required to pay TERRELL at least the applicable Florida minimum wage.

      45. During Plaintiff, TERRELL’s employment, Defendants willfully and maliciously

paid her less than the statutory minimum wage for her work hours. The Plaintiff received no final

paycheck for work performed.

      46. WHEREFORE, Plaintiff, TERRELL, respectfully requests that judgment be entered

in her favor against the Defendants:

       a.      Declaring that Defendants violated Article X of the Florida Constitution, insofar

               as failing to pay Plaintiff at or above the minimum wage;

       b.      Awarding Plaintiff all back minimum wages due and owing;

       c.      Awarding Plaintiff liquidated damages in the amount equal to her back wages;

       d.      Awarding Plaintiff reasonable attorney’s fees and costs and expenses of this

               litigation pursuant to Article X, Sec. 24, Fla. Const.;

       e.      Awarding Plaintiff prejudgment and post-judgment interest;

       f.      Finding that Defendants willfully violated Article X Fla. Const., and ordering

               Defendants to pay a $1,000.00 fine to the State of Florida for each such willful

               violation;




                                                 8
      Case 3:19-cv-01033 Document 1 Filed 09/05/19 Page 9 of 9 PageID 9



      g.      Declaratory relief pursuant to the Florida Constitution and Florida Statutes finding

              that Plaintiff wasnot paid minimum wage for all hours worked as required; and

      h.      Awarding such other and further relief this Court deems to be just and proper

                                        JURY DEMAND

      Plaintiff demands trial by jury on all issues so triable as of right by jury.

DATED: September 5, 2019.
                                              Respectfully submitted,

                                              BOBER & BOBER, P.A.
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                                                 9
